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                                                                                  FEDERAL FUNDING BY INSTITUTION
          College or University                   Contracts                 Grants                    Student Aid                GI Bill                  Yellow Bill           Total
Azusa Pacific University                                                    2,758,341.000             162,538,675.000            2,978,281.230               365,233.920       168,640,531.15
Clark's Summit                                                                                           3,603,427.000              93,221.520                                   3,696,648.52
Baylor University                                  817,121.000              9,936,019.000             128,065,014.000           10,522,346.790             1,857,864.990       151,198,365.78
Bob Jones University                                                                                                               521,407.820                                     521,407.82
Brigham Young University                                                                              133,419,439.000              535,482.300                                 133,954,921.30
Cedarville University                                                                                  27,042,845.000            1,882,881.980               221,450.410        29,147,177.39
College of the Ozarks                                                                                    3,394,258.000                                                           3,394,258.00
Colorado Christian University                                                                                                     3,461,627.750                22,294.600
Dordt University                                                                                                                     67,307.690                 7,500.000           74,807.69
Eastern University                                                            599,798.000               25,094,012.000              101,031.550
Fuller Theological Seminary                          2,436.000              9,251,715.000                                               608.400                                  9,254,759.40
George Fox University                               20,000.000                100,000.000              41,804,646.000               959,589.060                70,550.660       42,954,785.72
Indiana Wesleyan University                                                 1,438,382.000             139,033,603.000             1,892,275.410                 8,995.800      142,373,256.21
La Sierra University                               524,813.000                                         23,001,213.000               281,670.270                29,343.020       23,837,039.29
Lee University                                                              1,085,750.000              35,023,646.000              925,017.250
Liberty University                                 486,165.000                                        723,210,706.000           43,488,983.380             1,104,302.200       768,290,156.58
Lipscomb University                                                         1,422,315.000               49,028,435.000            2,921,595.610              364,850.580        53,737,196.19
Messiah University                                                             17,838.000               24,679,870.000              703,881.440              112,329.450        25,513,918.89
Moody Bible Institute                                                                                                               284,670.740
Nyack College
Oklahoma Baptist University                                                                            13,330,470.000              562,667.950                54,774.130        13,947,912.08
Regent University                                     3,900.000                                       116,247,245.000           10,482,199.860               101,387.810       126,834,732.67
Seattle Pacific University                                                    581,744.000               32,532,993.000            2,391,320.970              789,086.910        36,295,144.88
Toccoa Falls College                                                                                     4,617,273.000              147,897.600                                  4,765,170.60
Union University                                    90,598.000             40,317,316.000                                           646,049.310                31,343.030       41,085,306.34
Westmont College                                                                                         9,532,898.000               98,961.950                                  9,631,859.95
York College                                                                  450,000.000                3,743,158.000               20,830.920                                  4,213,988.92
                                                                                                                                           *FEDERAL FUNDING TOTAL:            1,793,363,345.37
Contracts, Grants (including Grants Research), and Student Aid figures were retrieved from datalab.usaspending.gov/colleges-and-universities (last visited August 4, 2021).
GI Bill and Yellow Ribbon figures were retrieved from www.va.gov/gi-bill-comparison-tool (last visited August 4, 2021).
* Significant amounts of data were not readily unavailable. Thus, the Federal Funding Total isl likely gross underestimate.




              EXHIBIT W                                                                                                                                                             1
